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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

JAMES BUECHLER                     *

                     Plaintiff     *

              vs.                  *    CIVIL ACTION NO. MJG-11-3282

HILLMARK CORP. and DOES 1-10       *
Inclusive
                  Defendants       *

*     *          *       *         *        *         *       *       *

                      JUDGMENT ORDER CLOSING CASE

     Pursuant to the Notice of Voluntary Dismissal With

Prejudice [Document 5] filed by Plaintiff:

     1.   All claims herein are dismissed with prejudice.

     2.   The parties shall bear their own respective costs.

     3.   This Order shall be deemed to be a final judgment
          within the meaning of Rule 58 of the Federal Rules of
          Civil Procedure.


     SO ORDERED, on Tuesday, January 24, 2012.



                                                  /s/__________
                                            Marvin J. Garbis
                                       United States District Judge
